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SUPREMACY | 1334

FEMALE LIBERATION MUST BE THE BASIS FOR SOCIAL REVOLUTION

OR THERE WILL BE NO SOCIAL REVOLUTION!

"TREASON TO MASCULINITY IS LOYALTY TO HUMANITY [AND REVOLUTION]
by Roxanne Dunbar-Ortiz

‘woman question’ FOR MALES. There has been no lack of involvement and total dedication of women;
in fact no revolution could have been conceived or carried out without:the initiatives, strategic planning,
soldiering, sacrifices and contributions of women, not to speak of their cooking, cleaning, comforting
and fucking the 'great warriors! which took all the time women could have been writing, theorizing,
creating art. But the abolishment of male privilege, male supremacy, ahd the elevation of feminism from
margin to center has never even been imagined as a responsibility of MALES. This time around it had
better be because this may be our last chance to get it right.

Any organization, grouping, or individual [no matter the national, racial, ethnic, legal status] who
considers her/him self committed to revolutionary change is obliged to: demonstrate concrete evidence of
the centrality of radical feminism to every aspect of life and action. Also, the burden/responsibility of
the implementation of such centrality must not fall to the women. In other words, women should not
have to be in charge of starting 'womens bureaus' or 'women's caucuses’ which always end up ghettoized
and paid lip service to. Those formations often become more a refuge for women to recover from
wounds inflicted by male supremacist behavior than dynamic centers of creativity and action. For that
purpose they are fine but not the point. Every board, officers roster, committee, panel, work group, etc.
must be from fifty percent to one hundred percent female NO MATTER WHAT THE ISSUE OR
TOPIC. Women must be totally involved in every aspect of theorizing, planning, implementation,
writing, editing, speaking. For this to result, it will take the males DEMANDING the centrality and
implementation of feminism. That will take reading, studying, discussion, debate, making the
abolishment of male supremacy THE priority both in practice as a group as an individual also and in the
theory/teachings developed.

I note that men who claim to be social activists do not spend much time reading works devoted to
feminism. I expect males to demand of other males that gender/feminigm be central so that the females
are not the ones carrying the weight, always on the defensive, pushing for what should be normal
behavior and attitudes. I notice radical males dealing with male novices, recommending books, insisting
on their reading, studying, discussing ideas with them, patiently demanding comprehension. I expétt the
same treatment for women, rather than ‘educating’ them in bed. It's not ia matter of just not being a jerk--
that's a question of style and being cool, right now in style--rather a matter of being/becoming a true
revolutionary.

The going will be rough and unending, a constant struggle. Male privilege touches every aspect of every
moment of our lives.

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I am convinced that all past revolutions have failed precisely because of the lack of centrality of the

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go back to the Industrial Worker

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